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                  EXHIBIT 4
    Case 2:19-cv-02556-JAK-RAO Document 1-4 Filed 04/04/19 Page 2 of 8 Page ID #:48




                  GreenbergTraurig
        Herbert H. }:Inn
        Tel 312.456.8427
        Fax 312.456.8435
        FlnnH@gtlaw.com




                                                                     July 19, 2018

        VIA OVERNIGHT COURIER

        Cassandra Thurswell
        Chief Executive Officer
        Kitsch LLC
        137 N Larchmont Blvd, #641                                                                    AMSTERDAM
        Los Angeles, California 90004
                                                                                                      W     ,i


       Re:        Kitsch’s Unauthorized Use of DEEJAYZO0 Intellectual Property
                                                                                                       ~IC~G0
       Dear Ms. Thurswell:
                                                                                                       ~[LAW~
                                                                                                       tmR
                                                                                                      FoR’r ~U~EP~X~J.E




                                                                                                      MI~I
                                                                                                      Mitre’
       comfortable shower cap.
                                                                                                      ~iORTHERN VIRGINIA



                                                                                                      =HILADE~


                                                                                                          EH
       women.




       SHHHOWERCAP product.

                 In addition to federal registrations on its SHHHOWERCAP mark, DEEJAYZOO



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      GREENBERG TRAURIG, LIP ¯ ATTORNEYS AT LAW " WWW.GTLAW.COM                                        ~         M
                                                                                                                 m3mJmo
      77 West Wacker D~ve, Suite 3100, Chicago, ILlinois 60601 .Tel: 312.456.8400. Fax 312.456,8435



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Case 2:19-cv-02556-JAK-RAO Document 1-4 Filed 04/04/19 Page 3 of 8 Page ID #:49                       i




    July 18, 2018
    Page 2
    as early as December 6, 2015. As such, DEF.JAYZO0 has acquired common law fights to the
    THE SHOWER CAP REINVENTED mark, as well as numerous other marks.




                                             Kitsch’s Shower Caps

          ,, It has come to our attention, Kitsch. LLC ("Kitsch") offers for sale competitivei
                                                                                           i shower
    caps ( Kitsch Shower Cap ) through various websites and retail outlets, inclu~ng the caps
    identified at https://mykiisch.co~shower-caps/. The Kitsch Shower Cap bears a~g
    resemblance to and c6ntains the same structure as DEEJAYZO0 s SHHHOWE             product.
    We have reviewed and analyzed s~ples of the Kitsch Shower Cap, including its packaging.
    Based on the ~sults of our review and       is) the Kitsch Shower Cap and p~ka~g        ge
    DEEJAYZOO ~s trademark and patent fights, ~ ~scussed in greater detail ~low.
                                         ¯
                                       Kitsch s Trademar Infringement
                                               )            k




     Greenberg Traurlg, LLP ¯ ATTORNEYS AT LAW ¯ WwW.GTLAW.COH
Case 2:19-cv-02556-JAK-RAO Document 1-4 Filed 04/04/19 Page 4 of 8 Page ID #:50




  July 18, 2018
  Page 3




                                         Kitseh’sPatent Infi’ingement




  be~ow.


                    D’729Patent                                     Kitsch Shower Cap




                         FIG. 1




          Based on our review, an ordinary observer would find the Kitsch Shower Cap to include
   substantially the same design as that depicted and claimed in the 3’792 patent, and therefore the
   Kitsch Shower Cap also infringes theD’792 patent,




   GreenbergTra~rtg, LLP ¯ A’FI’ORNEYS AT LAW = WWW,GTLAW’cOH
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     Page 4

                                                  DEEJAYZOO’s Demands

             DEEJAYZOO vigorously defends its valuable intellectual property rights. We must
     therefore demand that Kitsch immediately:

         1. Halt the manufacture, importation, use, sale, offer for sale, and/or distribution of the
            Kitsch Shower Cap;

              o




                  Shower Cap; and

          =




                  To address Kitsch’s in~fringement to date, please also provide the following information:

          °       Written assurance that Kitsch has compl~ed with demands (1), (2), and (3) above;

        5.



          .




        7. A listing of all retailers of Kitsch-brand products.




           I look forward to your prompt xesponse towards resolvingthis matter amicably and
    expeditiously.

                                                          Very truly yours,




                                                         Herbert H. Finn




   GreenbergTraurlg, LLP " ATTORNEYS AT LAW   ¯   WWW.G’l~W.CO~i~



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                                                                                        US010021930B2



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           De Jesu                                                    (45) Date of Patent:                          Jul. 17, 2018

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    (54)   NOISE REDUCING WATER RESISTANT
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           HEADPIECE                                                                                                              2/68

    (71)   Applicant: DEEJAYZOO, LLC, New York,
                         (us)
    (72)   Inventor: Jacquelin De Jesu, Brooklyn, NY (US)

    (73) Assignee: DEEJAYZOO, LLC, New York, NY
                         (us)
    ( * ) Notice:



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    (65)                   Prior Publication Data                                                                                 2/174
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                                                               Primary J
    (51) Int. Cl.                                              (74) Atto
           A42B 1/12               (2006.01)
    (52) u.s.a.                                                                            ABSTRACT

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Case 2:19-cv-02556-JAK-RAO Document 1-4 Filed 04/04/19 Page 7 of 8 Page ID #:53




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    (12) United States Design Patent (10)                                                         Patent No.:                US D775,792 S
           De Jesn                                                                           (45) Date of Patent:          **     *Jan. 10, 2017

    (54)    NOISE REDUCING WATER RESISTANT                                                                OTHER PUBLICATIONS
            HEAl)WEAR CAP

    (71)    Applicant: Jaequelln DeJesu, Brooklyn, NY (US)

    (72)    Inventor:      Jacquelin De Jesu, Brooklyn, NY (]IS)

    (*)     Notice:        This patent is subject to a terminal dis-                                             (Continued)
                           claimer.
                                                                                         Primary Examiner-- Karen E. Eldridge Powers
    (**)    Term:          14 Years                                                      Assistant Examiner--Jasmine Mlinarcik
                                                                                         (74) Attorney, Agent, or Firm ~ Gearhart Law LLC
    (21)    Appl. No.: 29/504)909

    (22)    Filed:         Oct. 10, 2014
    (51)    LOC (10) CL ............................................... 02-03            (57)                      CLAIM
    (52)    U.S. CI,
            USPC ........................................................... D2/867      1 claim the
                                                                                         resistant    ornamental
                                                                                                   headWear      design
                                                                                                            cap, aS     forand
                                                                                                                    shown   a noise reducing water
                                                                                                                               described.
    (58)    Field of Classification Search




    (56)




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Trademark E|ectronic Seamh System (TESS)                                   http://tmsearch.uspto.gowoin/showfield?f--doc&atate=4805:g53qor.2.!



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            Word Mark        THE sHowER CAP REINVENTED
            Goods and S~i~ !?~IC 025, US 022 039. G & S: Waterproof headpieces, namely, shower caps and turbans.
                             FIRST USE: 20151206. FIRST USE IN COMMERCE: 20160711
            Standard Characters
            Claimed
            Mark Drawing Code        (4) STANDARD CHARACTER MARK
            Serial Numbe, .: ~’ ~:::87’i84228
            Filing Date . ,. i.  , i September 27, 2016
            Current Basis            1A
            Original Rling Basis     1A
            Published for   -       March 7, 2017
            Opposition
            Registration Number 5208472
            Registration Date   May 23, 2017
            Owner                    (REGISTRANT) De Jesu, Jacquelyn INDIVIDUAL UNITED STATES 337 Kent Avenue. Apt.
                                     3B Brooklyn NEW YORK 11249
            Attomey of Record        Isabel Tdana
            Type of Mark             TRADEMARK
            Register                 PRINCIPAL
            Live/Dead Indicator      LIVE




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